                  Case 1:23-cr-00040-JMB ECF No. 11, PageID.78 Filed 04/21/23 Page 1 of 1

                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                       CRIMINAL MINUTE SHEET
USA v.       John Dawood Dalaly                                                          Mag. Judge: Phillip J. Green

    CASE NUMBER                       DATE                 TIME (begin/end)              PLACE                  INTERPRETER


 1:23-cr-00040-JMB-2                 4/21/2023             11:01 - 11:52 AM           Grand Rapids


APPEARANCES:
Government:                                               Defendant:                                     Counsel Designation:
Christopher O'Connor & Richard Stiffler                    Raymond A. Cassar                             Retained


          OFFENSE LEVEL                                 CHARGING DOCUMENT/COUNTS                            CHARGING DOCUMENT
                                                                                                          Read
Felony                                      Information                                                   Reading Waived     ✔



             TYPE OF HEARING                                       DOCUMENTS                               CHANGE OF PLEA

✔   First Appearance                               ✔   Defendant's Rights                        Guilty Plea to Count(s) 2
✔   Arraignment:                                   ✔   Waiver of Indictment                      of the Information
         mute              nolo contendre          ✔   Consent to Mag. Judge for Plea
                           guilty                                                                Count(s) to be dismissed at sentencing:
         not guilty
                                                       Other:
    Initial Pretrial Conference
                                                                                                 Presentence Report:
    Detention         (waived    )                                                                    ✔ Ordered      Waived
    Preliminary    (waived       )                 Court to Issue:                                   Plea Accepted by the Court
    Rule 5 Proceeding                              ✔ Report & Recommendation
                                                                                                     No Written Plea Agreement
    Revocation/SRV/PV                                 Order of Detention
                                                      Order to file IPTC Statements
    Bond Violation                                                                                     EXPEDITED RESOLUTION
                                                      Bindover Order
✔   Change of Plea                                    Order Appointing Counsel                       Case appears appropriate for
    Sentencing                                     ✔ Other:
                                                                                                     expedited resolution
    Other:                                         Rule 5F Order


                       ADDITIONAL INFORMATION                                                       SENTENCING
                                                                              Imprisonment:
                                                                              Probation:
                                                                              Supervised Release:
                                                                              Fine: $
                                                                              Restitution: $
                                                                              Special Assessment: $
                                                                              Plea Agreement Accepted:             Yes    No
                                                                              Defendant informed of right to appeal:         Yes    No
                                                                              Counsel informed of obligation to file appeal:  Yes   No


                  CUSTODY/RELEASE STATUS                                                  BOND AMOUNT AND TYPE

Released on Bond                                                       $ 25,000.00                       Unsecured

CASE TO BE:           Referred to District Judge                       TYPE OF HEARING: Sentencing

Reporter/Recorder:          Digitally Recorded                         Courtroom Deputy:             A. Doezema
